


  Decree. This cause came on to be heard on the transcript of the record of the Court for the Trial of Impeachments and the Correction of Errors, of
   
   *450
   
  th,e State of New-York. On inspection . whereof, it is. ordered, that the appeal, nr this cause, be¿ and the same is. hereby dismissed, it not appearing from the record that there was a final decree in said Court for the Correction of Errors, &amp;c. from which an appeal was taken.
  
   a
  




   a
  


    Vide
   
   4
   
    Johns. Ch.Rep.
   
   150. and 17
   
    Johns.
   
   Rep. 488. where ■the learned reader will find the case reported as decided in the State Courts.
  
